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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

  TROYCE MANASSA, individually and on
  behalf of all others similarly situated,

                     Plaintiff,

         v.
                                                           Case No. 1:20-cv-03172-RLY-MJD
  NATIONAL COLLEGIATE ATHLETIC
  ASSOCIATION,

                     Defendant.


    MOTION TO DISQUALIFY FEGANSCOTT LLC AS COUNSEL FOR PLAINTIFF

        Pursuant to Local Rule 7-1(g), Defendant, the National Collegiate Athletic Association

 (“NCAA”), by and through its undersigned attorneys, respectfully move this Court for an order

 disqualifying the law firm of FeganScott LLC (“FeganScott”) as counsel for Plaintiff, Troyce

 Manassa (“Manassa”), because FeganScott has an irreconcilable conflict of interest under Rules

 1.7, 1.9, and 1.10 of the Indiana Rules of Professional Conduct (“RPC”) that can only realistically

 be solved through disqualification.

        FeganScott is co-lead counsel for Manassa, and concurrently with this litigation,

 FeganScott counsel worked for the NCAA in this lawsuit. RPC 1.7 clearly prohibits concurrent

 representation of two clients at opposite sides of the same dispute. RPC 1.9 prohibits an attorney

 from knowingly representing a person in the same or substantially related matter in which that

 person’s interests are materially adverse to the interests of the former client, unless the former

 client gives informed consent in writing. FeganScott attorney, Mr. Sakthivel, violated these rules,

 and these violations are imputed to FeganScott, in accordance with RPC 1.10. To preserve justice



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 and integrity, FeganScott should be disqualified from continuing to represent Manassa in this case,

 and any members of the proposed class.

          On April 26, 2022, the NCAA, via email, made reasonable efforts to confer with

 FeganScott under Local Rule 7-1(g)(1)(A) and (C) and Local Rule 7-1(g)(2) to resolve the matters

 raised in the Motion prior to filing the Motion. On May 1, 2022, FeganScott responded, via email,

 and declined to withdraw as counsel. The parties continued to discuss the matter at a joint

 telephonic discovery status conference before Judge Dinsmore on May 6, 2022, which was

 attended by Plaintiff’s lead counsel, Plaintiff’s local counsel, and the NCAA’s counsel. Plaintiff

 has indicated it opposes this Motion.


     DATED: May 23, 2022                        Respectfully submitted,

                                                /s/ Brian E. Casey
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                                                Attorneys for Defendant the NCAA




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     Mr. Vital can be contacted at Barnes & Thornburg LLP’s Dallas, Texas office.

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                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing

 document has been filed using this court’s ECF system on all counsel of record .

                                              /s/ Brian E. Casey
                                              Brian E. Casey




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